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                        UNITED STATES DISTRICT COURT

                                   DISTRICT OF OREGON

                                     EUGENE DIVISION

VIRGINIA IBARRA,                                  Case No. 6:17-cv-00067-MC

                Plaintiff,                         NOTICE OF SETTLEMENT

       v.

CAPITAL ONE BANK,

                Defendant.


       NOW COMES Plaintiff, VIRGINIA IBARRA ("Plaintiff"), by and through her attorney,

and pursuant to Local Rule 41-1(a), notifies the Honorable Court that Plaintiff and Defendant,

CAPITAL ONE BANK, (“Defendant”) reached a settlement agreement in this matter and

request this case be dismissed with prejudice.


                                                  Respectfully submitted,

Dated: October 9, 2017                            /s/Kenneth P. Dobson
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